         Case 5:19-cr-00175-OLG Document 14 Filed 11/18/19 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION
USA                                             §
                                                §      CRIMINAL NO:
vs.                                             §      SA:19-CR-00175(1)-OLG
                                                §
(1) JOSE HERNANDEZ                              §

      ORDER CANCELLING HEARING ON MOTION TO REVOKE
                   SUPERVISED RELEASE
        IT IS HEREBY ORDERED that the above entitled and numbered case having been set

for HEARING ON MOTION TO REVOKE SUPERVISED RELEASE on Thursday,

November 21, 2019 at 10:30 AM is hereby CANCELLED until further order of the court.

      IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to

counsel for defendant, the United States Attorney, United States Pretrial Services and the United

States Probation Office. If the defendant is on bond, counsel for the defendant shall notify the

defendant that this matter is cancelled.

        IT IS SO ORDERED this 18th day of November, 2019.




                                                ______________________________
                                                ORLANDO L. GARCIA
                                                CHIEF U.S. DISTRICT JUDGE


***(Defendant has a related case SA-19-CR-797(1)-FB.)***
